       Case 1:22-cr-02043-SMJ     ECF No. 10       filed 06/02/22            PageID.14 Page 1 of 1


                                                                                                  FILED IN THE
                                                                                              U.S. DISTRICT COURT
                                                                                        EASTERN DISTRICT OF WASHINGTON
                                UNITED STATES DISTRICT COURT
 1                             EASTERN DISTRICT OF WASHINGTON
                                                                                         Jun 02, 2022
 2 UNITED STATES OF AMERICA       )                                                          SEAN F. MCAVOY, CLERK
                                  )
 3             Plaintiff,         )   NO: 1:22-CR-02043-SMJ
                                  )
 4                                )
                                  )
 5                         v.     )   AMENDED WRIT OF
                                  )   HABEAS CORPUS AD
 6   MARCELO ANTHONY BENSON, )        PROSEQUENDUM
                                  )
 7                                )
               Defendant.         )
 8   ____________________________
          THE PRESIDENT OF THE UNITED STATES OF AMERICA
 9

10 TO: Superintendent, Washington State Corrections Center, Shelton, Washington and

11
     to any United States Marshal.
12
                                     GREETINGS
13

14          WE COMMAND that you have and produce the body of MARCELO
15
     ANTHONY BENSON, DOC # currently in your custody, before the United
16

17
     States District Court, 25 S. Third Street, Yakima, Washington, on June 10, 2022 at 10:00

18 a.m., in order that said prisoner may then and there respond to and answer charges

19
     currently pending against him in the above-entitled case; and at the termination of said
20

21
     case to return him forthwith to the custody of said Superintendent.

22          WITNESS, the Duty United States Magistrate Judge, Eastern District of
23
     Washington.
24

25                                                   SEAN MCAVOY, Clerk
                                                     United States District Court Eastern
26                                                   District
                                                           ct oof Was
                                                                  Washington
                                                                        gto
                                                            4:08 pm, Jun 02, 2022

27

28                                                   By:
                                                     ______________________________
                                                          ___________
                                                                    _________
     Writ                                      1     &OHUN
